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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

 Case No.       SACV 19-00794-JLS (ADSx)                         Date      August 13, 2021
 Title          Antonio Navarrete v. Sprint United Management Company et al




PRESENT:

          HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

         Karlen Dubon for Melissa Kunig                         Deborah Parker
                   Deputy Clerk                                 Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                  ATTORNEYS PRESENT FOR DEFENDANT:

         Gregory Mauro                                          Emily Patajo

PROCEEDINGS:          Plaintiffs' Notice of Motion and Motion for Final Approval of Class
                      Action Settlement; Attorney’s Fees, Costs, Service Award and
                      Administration Costs [44]



Motion hearing held.

The Court ORDERS the parties to review Court Order re Motion for Preliminary Approval of
Class Action Settlement [dkt. 43] and file a revised version of the Class Notice within 10 days.

The Court further ORDERS the parties to file a status report re the status of Class Action
Notice mailing no later than 30 days from today.

This matter is continued to November 12, 2021 at 10:30 a.m.




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                                                Initials of Deputy Clerk    kdu
cc:

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